Case 7:18-cv-00500-MFU-RSB Document 1-1 Filed 10/12/18 Pagelof4 Pageid#: 7

¥

VIRGINIA:

IN THE CIRCUIT COURT FOR ROANOKE COUNTY

 

HELEN PERRY,

Vv.

Plaintiff,

KROGER LIMITED PARTNERSHIP |

and

Serve:

Kroger Limited Partnership |
By its Registered Agent
Corporation Service Company
100 Shockoe Slip, 2 Floor
Richmond, Virginia 23219

ARAMARK UNIFORM & CAREER

APPAREL, LLC
Serve:

Aramark Uniform & Career
By its Registered Agent
CT Corporation System
4701 Cox Road, Suite 285
Glen Allen, Virginia 23060

Defendants.

COMPLAINT

ee See” ee” eee Cage” ee? See ne ee ee ee eee eee Ce Cee ae ee Se? Sree ct Sra? See? Se? Teme? So? Sone? See? Seema” Set

Case No.: (UU 4-41

Plaintiff Helen Perry, by counsel, moves the Court for judgment against defendants

Kroger Limited Partnership | (“Kroger”) and Aramark Uniform Services (“Aramark”), jointly

and severally, on the grounds and in the amount hereinafter set forth:

1. Defendant Kroger is and was at all relevant times a limited liability

partnership conducting business in the Commonwealth of Virginia, and is in the business

EXHIBIT

i A
Case 7:18-cv-00500-MFU-RSB Document 1-1 Filed 10/12/18 Page 2of4 Pageid#: 8

oy

of owning, managing and/or operating grocery stores known as Kroger, including one
such store located at 3970 Valley Gateway Boulevard, Roanoke, Virginia 24012, in (the
“Grocery Store’).

2. Defendant Aramark is and was at all relevant times a corporation
conducting business In the Commonwealth of Virginia, and Is In the business of providing
floor mats to other businesses including Kroger, and specifically provided floor mats for
use at the Grocery Store. Aramark's floor mats were in use at the Grocery Store on
January 9, 2018.

3. On or about January 9, 2018, plaintiff Helen Perry was, at the express or
implied invitation of Kroger, shopping at the Grocery Store.

4, At that time and place, a place of business in which the general public was
invited, defendants Kroger and Aramark, individually and collectively, and their respective
agents and employees, each had a duty to maintain the Grocery Store in a reasonably
safe condition; to make reasonable inspections to determine whether any latent defects
existed; to remove within a reasonable time any latent defects that were known, or in the
exercise of ordinary care should have been mam, by them or either of them, to be
present and to present a danger to invitees; or to wam Mrs. Perry of any unsafe or
dangerous condition if it was not known, and not reasonably expected to be known, to
Mrs. Perry.

5. Notwithstanding the said duties, defendants Kroger and/or Aramark, and
their respective agents and employees, negligently allowed a dangerous condition to
exist, to-wit: Kroger and/or Aramark, and their respective agents and employees,

negligently allowed the existence of an unmarked and latent condition on the walking
Case 7:18-cv-00500-MFU-RSB Document 1-1 Filed 10/12/18 Page 3of4 Pageid#: 9

‘ ar ’

surface near or in the entrance to or exit from the Grocery Store (the “dangerous
condition’), which made the walking surface unreasonably dangerous for individuals,
including Mrs. Perry, to walk on.

6. Defendants Kroger and/or Aramark, and their respective agents and
employees, each knew, or reasonably should have known, of the existence of the
dangerous condition.

7. Neither defendant Kroger nor defendant Aramark warned Mrs. Perry of the
existence of the dangerous condition.

8. Defendants Kroger and Aramark are each vicariously liable for actions, or
failures to act, of their respective agents and employees.

9, As a direct and proximate result of the negligence of defendants Kroger
and/or Aramark, and/or their respective agents and employees, Mrs. Perry fell on or about
January 9, 2018 while exiting the Grocery Store because of the dangerous condition, and
sustained severe and permanent bodily injuries; has suffered and will continue to suffer
great pain of body and mind; has sustained permanent disability and deformity; has
suffered great inconvenience and mental anguish; and has incurred and will in the future
incur hospital, doctors’ and/or related expenses in an effort to treat and/or be cured of
said injuries.

WHEREFORE, plaintiff Helen Perry moves the Court for judgment against
defendants Kroger and Aramark, jointly and severally, in the sum of SEVENTY
THOUSAND AND 00/100 DOLLARS ($70,000.00) together with pre- and post-judgment

interest and her costs in this behalf expended.
Case 7:18-cv-00500-MFU-RSB Document 1-1 Filed 10/12/18 Page 4of4 Pageid#: 10

* . ar '

PLAINTIFF HELEN PERRY DEMANDS A JURY TRIAL.

HELENFER
a Ful

By Counsel

Patrick T. Fennell (VSB 40393)

PATRICK FENNELL, ATTORNEY AT LAW, P.C.
Post Office Box 12325

Roanoke, Virginia 24024

Telephone: 540-339-3889

Facsimile: 540-339-3880

patrick@fmtrials.com

Harry F. Bosen, Jr. (VSB 15055)
HARRY F. BOSEN, JR., P.C.
Post Office Box 1028

(306 East Main Street)

Salem, Virginia 24153
Telephone: 540-389-6940
Facsimile: 540-389-2104

Counsel for plaintiff Helen Perry.
